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FAMILY COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

In the Matter of a Custody/ Visitation Proceeding File #: 128425
Docket#: V-42873-10
EMILIE BOSAK,
Petitioner,
-against-
AFFIDAVIT
MANUEL P. ASENSIO,
Respondent.
SATE OF NEW YORK  }
COUNTY OF NEW YORK } ss:
GEETA POOLSINGH, being duly sworn, deposes and says the following in
support of the present motion:
1. I have worked for Manuel Asensio and Emilie Bosak since 2003, a year
before their daughter Eva’s birth.
2. As stated in all my letters I do not want to be part of this litigation. My
only concern in this matter is Eva’s best interest.
3. Emilie has not been sleeping in the same room as Manuel since early
2007. They have been separated for the past four (4) years since then.

4, In 2008 I witnessed Manuel suffer from depression due to his business.

Emilie was indifferent towards Manuel.

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Emilie had Manuel wrongfully arrested on September 13, 2010. From
my experience of working with the family for seven and half years I have
never witnessed any form of physical or verbal abuse from Manuel
towards Emilie or Eva.

6. Manuel has strong family values which have created some differences

between Manuel and Emilie in the marriage. Emilie wanted to do fashion
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design. However, Manuel opposed it because he needed her help to save
the family business. Emilie refused to provide him with any assistance.

7. Emilie should have not gone to court to get an Order to remove Manuel’s
visitation rights with Eva. Eva was in Florida with her Father and not in
any danger. Eva was on vacation from school so Manuel took her to visit
her sick grandmother and her two elderly relatives in Miami. I do not
agree that Manuel cannot see his daughter until further Court Order.

8. Last Friday evening, on February 18, 2011, ] met Manuel and Eva in
front of 747 Third Avenue, New York, New York. I took Eva with me to 62
Cooper Square, apartment 10B at approximately 7:40p.m. I left Eva at

home with Emilie. To my knowledge Eva is currently with her mother.

Wherefore, I ask that the Order to Show Cause issued on February 15, 2011
and the underlying Order of February 16, ant on which it is based, also be
vacated. ©. a af

GEETA cle 08

 

Sworn to before me on this
224 day of February, 2011.

NOTARY PUBLIC

 

ea esy age

JOHN PB KEIL
Notary Public, State of New York
No. O2KESOS 7479
Gu aivied in Ki ng County
Commission Expires 06/08/2011
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EXHIBIT 5
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FAMILY COURT OF THE COUNTY OF NEW YORK
COUNTY OF NEW YORK

File #: 128425

Docket #: V-43839-13/13A

 

MANUEL P. ASENSIO,

Plaintiff
PLAINTIFF'S REQUEST
-against- FOR THE PRODUCTION
OF DOCUMENTS BY
DEFENDANT
EMILIE BOSAK,
Defendant.

 

 

PLEASE TAKE NOTICE, that pursuant to Article 31 of the Civil Practice Law
and Rules, Plaintiff Manuel P. Asensio ("Asensio") hereby requests that defendant Emilie Bosak
("Bosak") produce for inspection and copying the documents described below (the "Document
Requests") at the offices of Manuel P. Asensio, 400 East 54°? Street, New York, New
York 10022 on or before October 15th, 2015 at 10:00 a.m.

DEFINITIONS

For the purpose of these demands, the following terms shall be defined as follows:

1. "Settlement" means all papers related to the parties July 21, 2010 divorce agreement up through
their last agreement on September 7", 2010 before the first arrest on September 13, 2010
2. "Asensio" means Manuel P. Asensio-Garcia.

Go

"Documents" include, without limitation, the originals and each and every written, printed,
typed, recorded or graphic matter, however produced or reproduced, of any kind or
description, whether sent, received or neither, including originals, all copies, and all drafts
and both sides thereof, and including, but not limited to: papers; books, handwritten notes;
publications; book entries; letters; correspondence; telegrams; cables; telex messages;
memoranda (whether formal, informal, to the file, otherwise), notes; notations; interviews;
notes of interviews; bulletins; notices; announcements; minutes; folios; transcripts;
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affidavits; statements; summaries; opinions; court pleadings; stenographic notes; indices;
analyses; questionnaires; answer to questionnaires; telephone logs; lists; minutes of
meetings and other minutes; test reports; performance reports; other reports; recording of
telephone conversations; interviews; conferences, meetings; or other conversations;
contracts, agreements; invoices; checks; bills; receipts; desk calendars; appointment books;
photographs; microfilms; communiques; computer printouts; data processing input and
output; e-mail; any retrievable data whether in computer storage, carded, taped, coded, or
stored electrostatically, electromagnetically or otherwise, and all transcripts thereof;
programming instructions and other material necessary to understand the above-
mentioned computer-related items; all other records kept by electronic, photographic or
mechanical means; all other writings; and all things similar to any of the foregoing,
regardless of their author or origin, however denominated. The word "document" also
includes voice recordings and, reproductions, film impressions of any of the
aforementioned writings as well as copies of documents of which the originals are not in
the possession, custody or control of Bosak.

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The terms "concerning," "relating to,” "referring to," "pertaining to," "reflecting,"
evidencing," and "constituting" are used, for purposes of these Document Requests, as
equivalent terms, each including the others.

The terms "any," "
each, and every.

all," "each," and "every" shall each be construed as meaning any, all,

The term "including," shall mean including without limitation.
The singular includes the plural and vice-versa.

The terms "and" as well as "or" shall be construed both conjunctively and disjunctively
as necessary in order to bring within the scope of the Document Requests all responses
which might otherwise be construed outside its scope.

All words, terms and phrases not specifically defined in these Document Requests
are to be given their normal and customary meaning in the context in which they are used
in these document requests herein.

INSTRUCTIONS

Unless otherwise specified, the requests shall require the production of all responsive
documents, for the period February 2007 to the present, inclusive, pertaining to the
events described in Exhibit A hereto titled “List of 16 Events and Dates referred to in
Request of Production.”

The requests which follow are to be regarded as continuing in nature, so that
further, more complete and supplemental responses must be served immediately if
Bosak obtains further, more complete, or new information or documents prior to the
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final disposition of this matter.

Each paragraph and subparagraph hereof and the definitions herein are to be construed
independently, and not by or with reference to any other paragraph or subparagraph or
definition herein for purposes of limiting the scope of any particular request or the subject
matter thereof.

Each request for documents calls for the production of all responsive documents in Bosak's
possession, custody or control or available to Bosak, or other persons acting on Bosak's
behalf, in Bosak's employment, or under its direction and/or control of Bosak's agents or
representatives.

All documents produced pursuant to these requests must be produced. Bosak is to indicate
the paragraph or subparagraph of the particular request in response to which each
document is produced.

Where a document is not produced because of a claim of privilege, the following
information must be supplied for each such document:

a) the nature of the privilege being claimed (if work product,
identify the case or matter for which the document was created);

b) the type of document;

c) the general subject matter of the document;

d) the date of the document; and

e) such other information as is sufficient to identify the document,
including, where appropriate, the author(s) of the document, the
addressee(s) of the document, the identity of any person the
document was sent to or reviewed by, or any person who had an
opportunity to review such document and, where not apparent,
the relationship of the author and the addressee to each other.

If any portion of any document is responsive to any Document Request, the entire
document must be produced.

If any of these Document Requests cannot be satisfied in full, Bosak is to produce documents
to the extent possible, specifying the reason for their inability to produce further documents,
and stating what knowledge, information or belief Bosak has concerning the un-produced
portion.

If a document that is responsive to a Document Request was, but is not now, in Bosak's
possession, custody or control, Bosak must provide a statement with following information:

a) Whether the document is still in existence, and if so, the name and
address of each person in whose custody a copy of the document can
be found;

b) Whether the document has been lost or destroyed, and if so, why and by
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whom;

c) Whether the document has been otherwise disposed of, stating who

disposed of it, and the date and manner if disposition; and

d) A description of the contents of the document, the names of the author(s)
and addressee(s) of the document and any other person who the
document was sent to, reviewed by or had an opportunity to review such

document, and the date the document was created.

All documents are to be produced in the form and in the same order within each file
which they existed prior to production, and the file folders, boxes or other containers or
bindings in which such documents are found are to be produced intact, including the title,

labels, or other descriptions of each such folder, box or other binding container.

All documents which cannot be legibly copied must be produced in their original form.

With respect to any documents stored in a computer data base, including electronic mail and
or text messages, Bosak must provide both a hard copy printout of the document, as well as a
copy of the computer or electronic tape, disc or other electronic medium on which the document

is stored, including all backups and archives of such computer or telephone database.

DOCUMENT REQUEST

1. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the first false arrest of Asensio on
September 13, 2010 and his removal from his place of residence. \f any oral statement was

made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

2. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the first use of false arrest of Asensio

 

in Family Court on December 8, 2010. If any oral statement was made, indicate:

a) the date of the oral statement;
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b) the name, title and description of the individual making the
statement;
c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

3. Each and every statement, signed or unsigned, or any recorded statement made by or taken

from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues inthis action, including, but not
limited to, any alleged admissions of the events that led to the first case of fraudulently
obtaining arrest warrant and visitation suspension in Ex Parte Filing against Asensio on
February 15, 2011 during the school winter break. \f any oral statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;
i) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral
statement; and
e) the substance of the oral statement.

Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the second use of false arrest of
Asensio in Family Court on March 29, 2011. \fany oral statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral
statement; and
e) the substance of the oral statement.

5. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the second false arrest of Asensio
on May 12, 2011. Ifany oral statement was made, indicate:

a) the date of the oral statement;
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b) the name, title and description of the individual making the
statement;
C) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

6. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues inthis action, including, but not
limited to, any alleged admissions of the events that led to the second_false arrest warrant
against Asensio on June 19, 2011 during Father’s Day. If any oral statement was made,

 

indicate:
a) the date of the oral statement;
b) the name, title and description of the individual making the
statement;
c) the location where the statement was made;
d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

7. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the filing of a false police report
against Asensio in an attempt to obtain a second arrest warrant and perjury in Court filing
alleging imminent arrest on September 5, 2011. \f any oral statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

8. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the fourth use of false police report

in Family Court of Asensio. If any oral statement was made, indicate:
Case 1:18-cv-10933-RA Document 18-12 Filed 12/17/18 Page 10 of 14

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a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral
statement; and

e) the substance of the oral statement.

Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues inthis action, including, but not
limited to, any alleged admissions of the events that led to the second case of fraudulent
visitation suspension in Ex Parte meeting without filing against Asensio on September 8,
2011. Ifany oral statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral
statement; and

e) the substance of the oral statement.

Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues-in this action, including, but not
limited to, any alleged admissions of the events that led to third false police report executed
at child’s school on_Asensio on December 5, 2013 (as retaliation to Custody Petition). \f any
oral statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral
statement; and

e) the substance of the oral statement.

Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the third false arrest of Asensio on
March 12,2014. \fany oral statement was made, indicate:
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a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

12. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the fourth use of false arrest in

Family Court of Asensio on March 24, 2014. \fany oral statement was made, indicate:

pH the date of the oral statement;

g) the name, title and description of the individual making the
statement;

h) the location where the statement was made;

i) the name, address and the title of the individual who heard the oral

statement; and
i) the substance of the oral statement.

13. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the fourth false police report on
Asensio on May 11, 2014, Mother’s Day (for use.in Family Court presentation}. If any oral

statement was made, indicate:

a) the date of the oral statement;

b) the name, title and description of the individual making the
statement;

c) the location where the statement was made;

d) the name, address and the title of the individual who heard the oral

statement; and
e) the substance of the oral statement.

14. Each and every statement, signed or unsigned, or any recorded statement made by or taken
from any party, servants and employees, now in your possession, custody or control, or in
the possession, custody or control of any of your agents, or in the possession of any other
person, if such statement bears in any manner on the issues in this action, including, but not
limited to, any alleged admissions of the events that led to the fifth false police report on

Asensio of Frenchwoods on July 10,2015. \fany oral statement was made, indicate:
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e)

the date of the oral statement;

the name, title and description of the individual making the
statement;

the location where the statement was made;

the name, address and the title of the individual who heard the oral
statement; and

the substance of the oral statement.

15. To the extent not already demanded, the Documents that Bosak will rely on at trial fo establish
each and every affirmative defense.

16. To the extent not already demanded, the Documents that Bosak will rely on at trial to
establish its defense against Asensio.

17. To the extent not already demanded, all Documents that Bosak intends to introduce at

trial.

Dated: October 8, 2015

TO:

Carmen Restivo

299 Broadway Ste 1415
New York, NY 10007
(718) 767-3798

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/ . hise/ UY, 724)

Manuel P. Asensio

Plaintiff, Pro Se

400 East 54" Street, 29B
New York, New York 10022
(212) 702-8801

 
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PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS BY DEFENDANTS
LIST OF 17 EVENTS AND DATES REFERRED TO IN REQUEST FOR THE PRODUCTION

Stalking and physically violent attack by Defendant, Father’s Day 2010

Separation and Final Settlement, February 2007 to September 7", 2010

First False Arrest, September 13, 2010

First Use for false police reports and arrest in Family Court, December 8", 2010

First Case of fraudulently obtaining arrest warrant and visitation suspension in Ex Parte
filing, Easter Break, 2011

Second Use for false arrest in Family Court, March 29, 2011

Second False Police report and False Arrest, May 2011 (retaliation for order to vacate
alleged martial property)

Second Case of false police report to fraudulently obtaining arrest warrant. Father’s
Day 2011

Third filing of false police report in fraudulently attempt to obtain second arrest
warrant and perjury in court filing alleging imminent arrest, September 5", 2011
Fourth Use for false police report and arrest in Family Court, September 6", 2011
Second Case of fraudulent visitation suspension in Ex Parte meeting without filing,
September 8th, 2011

Third false police report executed at child’s school in retaliation to filing of Custody
Petition, December 5", 2013

Third False Arrest, March 12, 2014

Fifth false police report, Mother’s Day 2014 (for use in Family Court presentation)
Fourth Use for false police reports and arrest in Family Court, March 24, 2014

Fifth false police report, Frenchwoods Two, July 10, 2015.

 

 
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MOTION SEQUENCE NUMBER 3
October 10, 2017

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK, MATRIMONIAL PART

 

EMILIE BOSAK
Plaintiff,
-against-
MANUEL P. ASENSIO,

Defendant.

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Manuel P. Asensio

Defendant

400 East 54" Street, Apartment 29B
New York, New York 10022
917-515-5200

mpa(asensio.com

 

Emilie Marie Bosak

Plaintiff

355 East 72st Street, Apartment 17C
New York, NY 10021

(917) 579-1413
emilie.bosak@gmail.com

 
